                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


In re:                                                  Case No. 24-47922-tjt

Heritage Collegiate Apparel, Inc. f/k/a                 In Proceedings Under
M-Den, Inc., d/b/a The M Den                            Chapter 11

                                                        Hon. Thomas J. Tucker
                     Debtor.
                                          /

        DEBTOR’S CORRECTED COVER SHEET FOR ITS
         FIRST DAY MOTION FOR INTERIM AND FINAL
      ORDERS (I) AUTHORIZING THE DEBTOR TO USE CASH
 COLLATERAL; (II) PROVIDING ADEQUATE PROTECTION TO THE
PRE-PETITION LENDERS; AND (III) SCHEDULING A FINAL HEARING

         The above-captioned debtor (the “Debtor”), by its proposed counsel, Schafer

and Weiner PLLC, filed its First Day Motion for Interim and Final Orders (I)

Authorizing the Debtor to Use Cash Collateral; (II) Providing Adequate

Protection to the Pre-Petition Lenders; and (III) Scheduling a Final Hearing (the

“Motion”), and in accordance with LBR 4001-2(b) (E.D.M.), has identified below,

by page and paragraph number, the location in the proposed order accompanying

the motion of each of the following provisions:




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                                                     CONTAINED IN
                                                                           LOCATION IN
                   PROVISION                          PROPOSED
                                                                         PROPOSED ORDER
                                                        ORDER
(1) Provisions that grant liens on the
    estate’s claims and causes of action                 Yes             Page __, ¶ __
    arising under Chapter 5 of the Code.                 No
(2) Provisions       that    grant     cross-
    collateralization protection to the                  Yes             Page __, ¶ __
    prepetition secured creditor (i.e.,                   No
    clauses that secure prepetition debt with
    categories of collateral that were not
    covered by the secured party’s lien
    prepetition) other than liens granted
    solely as adequate protection against
    diminution in value of a prepetition
    creditor’s collateral.
(3) Provisions that establish a procedure or
    conditions for relief from the automatic             Yes             Page __, ¶ __
    stay.                                                 No

(4) Provisions regarding the validity or
    perfection of a secured creditor’s                   Yes               Page 6, ¶ 5
    prepetition liens or that release claims              No
    against a secured creditor.
(5) Provisions that prime any lien without
    that lienholder’s consent.                           Yes             Page __, ¶ __

                                                          No

(6) Provisions that relate to a sale of
    substantially all of the debtor’s assets.            Yes             Page __, ¶ __

                                                          No
(7) Provisions for the payment of
    professional fees of the debtor or any               Yes            Pages 7-8, ¶ 14-
    committees, including any carve-outs                                       16
                                                          No
    for such payments.




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                                                     CONTAINED IN
                                                                           LOCATION IN
                   PROVISION                          PROPOSED
                                                                         PROPOSED ORDER
                                                        ORDER
(8) Provisions for         the   payment     of
    prepetition debt.                                     Yes            Page __, ¶___

                                                          No

(9) Provisions that waive the debtor’s
    exclusive right to file or solicit                   Yes             Page __, ¶ __
    acceptances of a plan during the time                 No
    periods specified in 11 U.S.C. § 1121.
(10) Provisions that require the debtor’s
    plan to be on terms acceptable to the                Yes             Page __, ¶ __
    secured creditor.                                     No
(11) Provisions that require or prohibit
     specific terms in the debtor’s plan.                Yes             Page __, ¶ __

                                                          No
(12) Provisions establishing that proposing a
     plan inconsistent with the order                    Yes             Page __, ¶ __
     constitutes a default.                               No
(13) Provisions that waive surcharge under
     11 U.S.C. § 506(c).                                 Yes             Page __, ¶ __

                                                          No
(14) Provisions that address the rights and
     obligations of guarantors or co-obligors.           Yes              Page __¶ __

                                                          No

(15) Provisions that prohibit the debtor from
     seeking approval to use cash collateral              Yes            Page __, ¶ __
     without the secured creditor’s consent.              No

(16) Provisions that purport to bind a
     subsequent trustee.                                 Yes             Page __, ¶ __

                                                          No


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                                                     CONTAINED IN
                                                                           LOCATION IN
                   PROVISION                          PROPOSED
                                                                         PROPOSED ORDER
                                                        ORDER
(17) Provisions that obligate the debtor to
     pay any of a secured creditor’s                     Yes             Page __, ¶ __
     professional fees.                                   No




                                             Respectfully submitted,

                                             SCHAFER AND WEINER, PLLC

                                             /s/ Kim Hillary
                                             KIM HILLARY (P67534)
                                             HOWARD BORIN (P51959)
                                             Proposed Attorneys for Debtor
                                             40950 Woodward Ave., Ste. 100
                                             Bloomfield Hills, MI 48304
                                             (248) 540-3340
Dated: August 19, 2024                       khillary@schaferandweiner.com




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                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


In re:                                                 Case No. 24-47922-tjt

Heritage Collegiate Apparel, Inc. f/k/a                In Proceedings Under
M-Den, Inc., d/b/a The M Den                           Chapter 11

                                                       Hon. Thomas J. Tucker
                     Debtor.
                                          /

    DEBTOR’S FIRST DAY MOTION FOR INTERIM AND FINAL
      ORDERS (I) AUTHORIZING THE DEBTOR TO USE CASH
 COLLATERAL; (II) PROVIDING ADEQUATE PROTECTION TO THE
PRE-PETITION LENDERS; AND (III) SCHEDULING A FINAL HEARING

         Heritage Collegiate Apparel, Inc. f/k/a M-Den, Inc. (the “Debtor”), by and

through its proposed counsel, Schafer and Weiner, PLLC, for its First Day Motion

for Interim and Final Orders (I) Authorizing the Debtor to Use Cash Collateral;

(II) Providing Adequate Protection to the Pre-Petition Lenders; and (III)

Scheduling a Final Hearing (the “Motion”), states:

                               REQUEST FOR HEARING

         1.    Through this Motion, the Debtor seeks entry of interim and final orders

(i) authorizing the Debtor to use Cash Collateral (defined below) and to provide

adequate protection to the Pre-Petition Lenders (defined below) in connection with

its use of Cash Collateral, (ii) scheduling a final hearing on this Motion (the “Final


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Hearing”), and (iii) establishing notice procedures regarding this Motion.

         2.    Debtor must pay its casualty insurance and fund 401K obligations by

August 26, 2024. As a result, Debtor respectfully requests that the Court schedule a

hearing on this Motion as soon as possible, but in no event later than August 23,

2024.

                                     JURISDICTION

         3.    The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§

157 and 1334.

         4.    This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b).

         5.    Venue of this proceeding and the Motion in this District is proper

under 28 U.S.C. §§ 1408 and 1409.

                                     BACKGROUND

         6.    On August 16, 2024 (the “Petition Date”), the Debtor filed its

Voluntary Petition for relief (the “Chapter 11 Case”) Chapter 11 of Title 11 of the

United States Code (the “Bankruptcy Code”) commencing the above-captioned

case (the “Case”).1

         7.    The Debtor continues to operate its business and manage its financial


1
   Unless stated otherwise, all statutory references herein are to the Bankruptcy
Code.

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affairs and properties as a debtor-in-possession pursuant to §§ 1107(a) and 1108.

No official committee of creditors holding unsecured claims or other committees

have been formed under § 1102.

         8.    Scott Hirth (“Hirth”) is the President and has been selected as the

Debtor’s responsible person in this bankruptcy case.

         9.    The Declaration of Scott Hirth in Support of Debtor’s Chapter 11

Petition and First Day Motions (“Hirth Declaration”) describes Debtor’s

background and the circumstances leading to its bankruptcy filing. See Hirth

Declaration at DN 15.


                               THE DEBTOR’S BUSINESS

                                      BACKGROUND

         10.   Debtor has been operating the largest retail operation of the University

of Michigan (the “University”) branded clothing and other merchandise for almost

fifty (50) years. See DN 15 at ¶ 9.

         11.   For the last thirty (30) years2, the Debtor has been the official

merchandise retailer of the University of Michigan Athletics, including a link to

Debtor’s website on the University of Michigan Athletics’ website, pursuant to a


2
 This thirty-year stretch was interrupted in 2009 when the Debtor’s status as the
University’s official merchandise retailer was terminated for one year and then
reinstated.

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July 1, 2009 licensing agreement and amendments (collectively the “Licensing

Agreement”). See DN 15 at ¶ 10.

         12.   The University purported to terminate the Debtor’s right under the

Licensing Agreement (including its right to be the University’s official

merchandise retailer, as well as the Debtor’s right to use the “M Den” name and

URL) effective May 13, 2024. See DN 15 at ¶ 11.

         13.   The Debtor and the University subsequently entered into a

Forbearance Agreement (retroactively effective to May 13) pursuant to which the

Debtor was authorized to continue to use the “M Den” name and URL and

continued as the official merchandise retailer. See DN 15 at ¶ 12.

         14.   The Forbearance Agreement was terminated by the University

effective June 11, 2024, but the University allowed the Debtor to continue

operating as if the Forbearance Agreement remained in effect in order to minimize

disruption while the University looked for a new official merchandise retailer and

the Debtor pursued a going concern sale. See DN 15 at ¶ 13.

         15.   This continued until August 15, 2024, when the University demanded

in writing that the Debtor cease and desist from further use of the “M Den” name

and URL. See DN 15 at ¶ 14.

         16.   Until very recently, Debtor operated from five separate retail locations

and sold merchandise through the MDEN.com website. See DN 15 at ¶ 15.

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         17.   Debtor’s largest store by far is located on State Street in Ann Arbor

(the “Flagship Store”). The Debtor has also operated from stores located (i) on

Main Street in Ann Arbor, (i) in the Briarwood Mall in Ann Arbor (iii) in the

Twelve Oaks Mall in Novi, and (iv) on Columbia Street in Detroit. See DN 15 at ¶

16.

         18.   The Debtor ceased operating its Twelve Oaks Mall location on August

16, 2024 and ceased operating at Briarwood Mall and Columbia Street in Detroit

on August 19, 2024. The Debtor is in the process of moving its assets out of these

three locations. See DN 15 at ¶ 17.

         19.   As a result, Debtor currently has two brick and mortar locations: (i)

the Flagship Store, and (ii) the Main Street store.        In addition, Debtor sells

merchandise from a tent located at the corner of Stadium and Main Streets in Ann

Arbor (directly across the street from Michigan Stadium) on game days, graduation

days and other special events. See DN 15 at ¶ 18.

         20.   Previously, the Debtor sold merchandise on game days inside of

Michigan Stadium and the University’s retail locations at various other sports

venues, but it does not anticipate doing so going forward. See DN 15 at ¶ 19.

                           CAUSES OF BANKRUPTCY FILING

         21.   A long chain of events contributed to Debtor’s financial distress and

ultimately its bankruptcy filing. Following decades of success, and expansion of

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Debtor’s operations completed in 2019, Debtor was faced with the severe

challenges which the COVID-19 pandemic brought to the retail sector, particularly

on a suddenly empty college campus, and particularly to a company sitting on

depleted cash reserves. See DN 15 at ¶ 20.

         22.    In 2019, the Debtor funded three large capital improvements from its

operating capital and cash reserves. The Debtor spent nearly a million dollars

updating and implementing a new ERP software system. At the same time, the

Debtor funded roughly $600,000 to build out its Detroit and Main Street3 locations,

with both locations opening/reopening for business in November of 2019. The

Debtor self-funded these improvements, leaving it with lower-than-normal cash

reserves going into 2020, hitting head-on into the unanticipated and unprecedented

COVID-19 global pandemic that immediately followed. See DN 15 at ¶ 21.

         23.    Starting in March of 2020, virtually all of Debtor’s customers were

removed from Ann Arbor for an entire year.              The University of Michigan’s

football and basketball games and other athletic events were played without fans

present.       Students moved home, and students and faculty attended classes,

graduation and other ceremonies remotely. See DN 15 at ¶ 22.


3
  The Main Street location was closed in June of 2018 as the landlord demolished
the building and re-built it as a six story multi-use complex. Upon completion of
the building construction, the Debtor completed the build out of its unit, all funded
by cash reserves.

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         24.   With its customer base stuck at home, the Debtor’s retail sales took a

nosedive and the Debtor shifted to selling the majority of its product online. In

2020 over sixty percent (60%) of Debtor’s sales were online which was more than

double the percentage of online sales in 2019. Unfortunately for the Debtor, its

online sales generated a much lower profit margin than its retail sales.4 See DN 15

at ¶ 23.

         25.   In addition, the pandemic created significant uncertainty in necessary

inventory levels and unpredictability in the supply chain. Leading up to the fall of

2020, it was not clear when students would be returning to campus or whether fans

would be able to attend games during the 2020 football and basketball seasons.

The Debtor was forced to decide whether to purchase its fall inventory and prepare

for a possible return of the students and fans, or risk being left flat footed without

proper inventory if the flood gates opened. See DN 15 at ¶ 24.

         26.   As the University’s official retail merchandise partner, the Debtor

determined it was necessary to purchase its fall inventory in order to be prepared

for the return of students and fans. The Debtor purchased roughly $6,000,000 in

inventory, but the COVID regulations did not lift. Classes remained remote, and

college football and basketball games were played without fans, leaving Debtor


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 In addition to shipping costs, the royalty Debtor owed to the University’s for
online sales was significantly higher than the royalty owed to the University for

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with millions of dollars in inventory and vendor obligations to repay without its

more profitable retail operations. See DN 15 at ¶ 25.

         27.   With traditional financing being generally unavailable, the Debtor

began seeking alternative financing to cover its cash shortages and began taking

out high interest loans) which further deteriorated its financial condition. See DN

15 at ¶ 26.

         28.   In addition to the shift to online sales, the Debtor’s profit model

underwent another significant shift in July of 2021 when the NCAA approved a

policy allowing student athletes to monetize their name, image and likeness (“NIL

Policy”). The Debtor was quick to respond to the NIL Policy and worked with the

University to launch a first of its kind name and number program for the 2021

football season. The Debtor’s agility in implementing the program was celebrated,

but its implementation was not without cost. The increased cost associated with

payment of the student athletes further depleted Debtor’s profit margin. See DN

15 at ¶ 27.

         29.   Despite all of the adversity, the Debtor’s profit showed slight

improvement in 2021. Students were returning to campus and sporting events and

graduations were once again celebrated at in-person events. The Debtor was



brick-and-mortar sales.

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making strides at paying back its high interest secondary market loans. See DN 15

at ¶ 28.

         30.    Unfortunately, in fall and winter of 2022 when the supply chain issues

caused by the pandemic came home to roost, the Debtor was not strong enough to

withstand this final blow. See DN 15 at ¶ 29.

         31.    Throughout 2020 and 2021, the Debtor’s vendors struggled to

complete orders on timelines available prior to Covid and required Debtor to order

inventory a year or more in advance of shipment. Debtor met the demands, and

submitted inventory orders a year or more in advance. See DN 15 at ¶ 30.

         32.    It backfired. During a two-weeks period in December 2022, Debtor

received over five million dollars ($5,000,000) in pre-ordered inventory. Much of

the inventory was delivered later than expected, after the 2022 football season, in a

glut difficult to even process, let alone sell. The vendors went largely unpaid and

some initiated lawsuits and obtained judgments which the Debtor could not pay.

See DN 15 at ¶ 31.

         33.    The Debtor started 2023 in the red and was ultimately not able to

recover.       Debtor’s sales sky-rocketed at the end of 2023 when University of

Michigan’s football team won the National Championship, but the royalties due to

the University on championship merchandise was even higher and Debtor’s profit

margin was slim. At the end of the day, the National Championship victory and

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the increase in sales was not sufficient to provide the Debtor with a financial

recovery. See DN 15 at ¶ 32.

         34.   The pandemic, the high interest unconventional financing, the deluge

of inventory, lower profit margins attributable to online sales, the NIL Policy, and

Championship royalites ultimately contributed to the Debtor’s bankruptcy filing

and the end of its nearly fifty years of success as the official merchandise retailer to

the University of Michigan. See DN 15 at ¶ 33.


                                  NATURE OF DEBT

         I.    DIRECT LIABILITIES TO BANK OF ANN ARBOR

         35.   The Debtor and its related entities have maintained loan relationships

with Bank of Ann Arbor for many years. The loan relationships which exist as of the

Petition Date are described below. See DN 15 at ¶ 34.

         36.   The Debtor is indebted to Bank of Ann Arbor pursuant to a Promissory

Note and Business Loan Agreement dated October 5, 2023, in the face amount of

$2,150,000 (“Loan 100184”). The Debtor believes the current balance on Loan

100184 is approximately $2,255,675.50. This loan matured prior to the Petition Date

and is due in full. See DN 15 at ¶ 35.

         37.   The following individuals and entities have guaranteed repayment of

Loan 100184: (i) Barbara Hirth, (ii) Barbara A. Hirth Trust u/a/d/ August 15, 1996,


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(iii) David Hirth, (iv) David F. Hirth Trust u/a/d August 15, 1996, as amended, (v)

Scott Hirth, (vi) Julie Corrin, (vii) Steve Horning, (viii) The Steven D. Horning and

Elizabeth A. Horning Trust Dated May 10, 2013, (ix) Scott David Hirth Trust Dated

October 14, 2002, and (x) David A. Corrin and Julie C. Corrin Trust Dated May 19,

2008. See DN 15 at ¶ 36.

         38.   The Debtor is indebted to Bank of Ann Arbor pursuant to a Promissory

Note and Business Loan Agreement dated July 29, 2022, in the face amount of

$292,061.99 (“Loan 201529”). The Debtor believes the current balance on Loan

201529 is approximately $103,184.41. See DN 15 at ¶ 37.

         39.   Debtor executed a Commercial Security Agreement dated July 5, 2020,

granting Bank of Ann Arbor a security interest and all asset lien on Debtor’s assets,

including its Cash Collateral, to secure all amounts owed by Debtor to Bank of Ann

Arbor. Bank of Ann Arbor perfected its lien by the filing of a UCC Financing

Statement with the State of Michigan on May 6, 1999, file number D514533, which

has been continued from time to time. See DN 15 at ¶ 38.

         40.   The following individuals and entities have guaranteed repayment of

Loan 100184: (i) Scott Hirth, (ii) Julie Corrin, (iii) Steve Horning, (iv) The Steven D.

Horning and Elizabeth A. Horning Trust Dated May 10, 2013, (v) Scott David Hirth

Trust Dated October 14, 2002, and (vi) The David A. Corrin and Julie C. Corrin

Trust Dated May 19, 2008. See DN 15 at ¶ 39.

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         II.   GUARANTEED OBLIGATIONS TO BANK OF ANN ARBOR

               a. M-DEN PROPERTIES, LLC

         41.   The Debtor executed a Commercial Guaranty dated July 27, 2017 (the

“Heritage Properties Guaranty”), guarantying repayment of all amounts owed by M-

Den Properties, LLC (“Heritage Properties”) to Bank of Ann Arbor. See DN 15 at ¶

40.

         42.     Heritage Properties is indebted to Bank of Ann Arbor pursuant to a

Promissory Note dated July 29, 2022, in the face amount of $658,554.57 (“Loan

401828”). The Debtor believes the current balance on Loan 401828 is approximately

$606,290.36. See DN 15 at ¶ 41.

         43.   The Scott David Hirth Trust Dated October 14, 2002, and Scott Hirth

guaranteed repayment of Loan 401828. See DN 15 at ¶ 42.

         44.   Heritage Properties is also indebted to Bank of Ann Arbor pursuant to a

Promissory Note dated June 25, 2022, in the face amount of $283,599.54 (“Loan

400994”). The Debtor believes the current balance on Loan 400994 is approximately

$179,530.36. See DN 15 at ¶ 43.

         45.   The obligations of Heritage Properties to Bank of Ann Arbor are also

secured by a mortgage and assignment of rents on real property located at 5000

Carpenter Rd. in Ypsilanti, Michigan (the “Warehouse”). See DN 15 at ¶ 44.



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         46.   The Warehouse is owned by Heritage Properties and is leased to

Debtor. See DN 15 at ¶ 45.

         47.   The following individuals and entities have guaranteed repayment of

Loan 400994: (i) Scott Hirth, (ii) Julie Corrin, (iii) Steve Horning, (iv) The Steven D.

Horning and Elizabeth A. Horning Trust Dated May 10, 2013, (v) Scott David Hirth

Trust Dated October 14, 2002, and (vi) The David A. Corrin and Julie C. Corrin

Trust Dated May 19, 2008. See DN 15 at ¶ 46.


               b. STADIUM PROPERTIES

         48.   The Debtor executed a Commercial Guaranty dated June 27, 2017

(“Stadium Properties Guaranty”), guarantying repayment of all amounts owed by M

Den Stadium Properties, LLC (“Stadium Properties”) to Bank of Ann Arbor. See

DN 15 at ¶ 47.

         49.   Stadium Properties is indebted to Bank of Ann Arbor pursuant to a

Promissory Note dated March 23, 2024, in the face amount of $870,335 (“Loan

401827”). The Debtor believes the current balance on Loan 401827 is approximately

$861,082.35. See DN 15 at ¶ 48.

         50.   Loan 401827 is also secured by a mortgage and assignment of rents on

real property located at 1336 South Main and 210 West Stadium Blvd. in Ann Arbor.

See DN 15 at ¶ 49.


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         51.   The following individuals and entities have guaranteed repayment of

Loan 401827: (i) Scott Hirth, (ii) Julie Corrin, (iii) Steve Horning, (iv) The Steven D.

Horning and Elizabeth A. Horning Trust Dated May 10, 2013, (vi) Scott David Hirth

Trust Dated October 14, 2002, and (vii) David A. Corrin and Julie C. Corrin Trust

Dated May 19, 2008. See DN 15 at ¶ 50.


               c. STATE STREET PROPERTIES

         52.   The Debtor executed a Commercial Guaranty dated June 27, 2017

(“State Street Guaranty”), guarantying repayment of all amounts owed by M Den

State Street Properties, LLC (“State Street Properties”) to Bank of Ann Arbor. See

DN 15 at ¶ 51.

         53.   State Street Properties is indebted to Bank of Ann Arbor pursuant to a

Promissory Note dated July 27, 2022, in the face amount of $2,256,976.20 (“Loan

401636”). The Debtor believes the current balance on Loan 401636 is approximately

$2,057,684.10. See DN 15 at ¶ 52.

         54.   Loan 401636 is also secured by a mortgage and assignment of rents on

real property located at 307-309 State Street in Ann Arbor, Michigan. See DN 15 at

¶ 53.

         55.   The following individuals and entities have guaranteed repayment of

Loan 401636: (i) Scott Hirth, (ii) Julie Corrin, (iii) Steve Horning, (iv) The Steven D.


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Horning and Elizabeth A. Horning Trust Dated May 10, 2013, (vi) Scott David Hirth

Trust Dated October 14, 2002, and (vii) David A. Corrin and Julie C. Corrin Trust

Dated May 19, 2008. See DN 15 at ¶ 54.


         III.   LIABILITY TO NEWTEK BANK

         56.    Debtor is indebted to Newtek Bank pursuant to U.S. Small Business

Administration Note dated December 10, 2020 in the face amount of $4,600,000

(“Newtek Note”). The Debtor believes the current balance on the Newtek Note is

approximately $4,835,106.04. See DN 15 at ¶ 55.

         57.    The Newtek Note is secured by a lien on the Debtor’s all asset lien on

Debtor’s assets, including its Cash Collateral, pursuant to a Commercial Security

Agreement dated December 10, 2020.          Newtek perfected its lien by the filing of a

UCC Financing Statement with the State of Michigan on November 13, 2020, file

number 20201113000487-3. See DN 15 at ¶ 56.

         58.    The following individuals and entities have guaranteed repayment of the

Newtek Note (i) Rennae Whitt; (ii) Elizabeth Horning, (iii) Steven Horning, (iv) M

Den State Street Properties, LLC, (v) Scott David Hirth, (vi) July Carol Corrin, (vii)

M Den Stadium Properties, LLC, (viii) M-Den Properties, LLC, and (ix) David

Corrin. See DN 15 at ¶ 57.




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         IV.   LIABILITY TO TVT

         59.   Debtor is indebted to TVT 2.0, LLC (“TVT”) pursuant to Business

Loan and Security Agreement dated March 23, 2023 in the face amount of

$2,500,000 (“TVT Agreement”). The Debtor believes the current balance on the

TVT Note is approximately $1,003,941. See DN 15 at ¶ 58.

         60.   The TVT Agreement provides that the debt is secured by a lien on the

Debtor’s all asset lien on Debtor’s assets, including its Cash Collateral. The Debtor

believes that TVT has perfected its lien by the filing of a UCC Financing Statement

with the State of Michigan, however, it has been unable to identify the filing. See

DN 15 at ¶ 59.

         61.   In addition, the Debtor previously borrowed funds from various

creditors who filed UCC Financing statements against the Debtor’s assets, including

Cash Collateral. These creditors are identified on the attached Exhibit B. The

Debtor believes that all amounts owed to these creditors have been repaid and as a

result none of these creditors have an interest in the Debtor’s Cash Collateral.

However, these creditors have not filed termination statements terminating their filed

Financing Statements so the Debtor is notifying them of its proposed use of Cash

Collateral. See DN 15 at ¶ 60.



{01068093.1}
                                           16

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         62.     Debtor is informed that no other party-in-interest has an interest in the

Debtor’s Cash Collateral. See DN 15 at ¶ 61.

                        REQUEST FOR USE OF CASH COLLATERAL

         63.   As of the Petition Date, Debtor, without admission, Debtor believes

that its cash collateral, as defined in 11 U.S.C. §363, (the “Cash Collateral”)

consisted of the following collateral:

                       a.    Cash of approximately $1,159.03;
                       b.    Accounts Receivable of approximately $161,488.535;
                       c.    Inventory valued at approximately $8,100,000.00 (cost
                             basis).
See DN 15 at ¶ 63.

         64.   Debtor requires the use of Cash Collateral to make such payments as are

necessary for the continuation of its business as shown in the budget attached to the

Cash Collateral Motion as Exhibit C (the “Budget”). The projected revenue and

expenses in the Budget are based upon historical financial data. See DN 15 at ¶ 64.

         65.   The Budget projects Debtor’s anticipated revenue and expenses and

demonstrates the amount of funds the Debtor anticipates needing to spend on its

operations over a thirteen-week period. See DN 15 at ¶ 65.

         66.   Debtor is confident that Debtor’s post-petition operations will be

profitable as further set forth in the Budget. See DN 15 at ¶ 66.




{01068093.1}
                                             17

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         67.   From the Petition Date through September 15, 2024, Debtor projects

that it will need to spend approximately $936,489 to avoid immediate and

irreparable harm as set forth in the Budget. See DN 15 at ¶ 67.

         68.   Without the ability to make the payments as set forth in the Budget, (i)

the Debtor will suffer irreparable harm, (ii) it will be unable to fund operations

necessary to continue operations (iii) its employees will abandon it because the

Debtor will be unable to pay for their services, and (iv) the Debtor will be forced to

cease operating. See DN 15 at ¶ 68.

         69.   The majority of the Debtor’s value arises from its on-going operations

and its ability to continue operating as a going concern out of its Flagship Store. If

the Debtor ceases operating and is forced into liquidation, its value will be

substantially reduced. See DN 15 at ¶ 69.

         70.   Accordingly, authorizing Debtor to use Cash Collateral as set forth in

the Budget is in the best interests of all creditors and parties-in-interest. See DN 15

at ¶ 70.

        71.    As part of its request to use Cash Collateral, the Debtor is requesting

that this Court allow it to escrow, on a monthly basis, $40,000 into a debtor-in-

possession account (the “Professional Fee Account”) earmarked to pay the


5
 The vast majority of Debtor’s accounts receivable are owed to it by the
University and are likely subject to set-off against the University’s claim of

{01068093.1}
                                             18

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professional fees incurred by its legal counsel in connection with the bankruptcy

proceeding to the extent the fees are allowed by this Court.

        72.    The Debtor submits that funds held in the Professional Fee Account

will remain property of the estate, until such time that professional fees are allowed

by Court order and will be free and clear of the liens, claims, and encumbrances of

the Prepetition Lenders. This arrangement provides a practical and necessary

mechanism for the payment of allowed administrative expenses to Debtor’s

retained legal counsel6 and counsel for a committee of unsecured creditors if one is

formed.

                              ADEQUATE PROTECTION

         73.   The Bankruptcy Code does not explicitly define “adequate

protection,” but section 361 of the Bankruptcy Code provides a nonexclusive list of

how a debtor-in-possession may provide it, including: (i) periodic cash payments,

(ii) additional or replacement liens, or (iii) other relief resulting in the “indubitable

equivalent” of the secured creditor's interest in such property.

         74.   What constitutes adequate protection must, therefore, be decided on a

case-by-case basis. See, e.g., In re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y.



approximately $8,855,882.
6
  On the Petition Date, the Debtor filed its Application to Employ Schafer and
Weiner, PLLC as Bankruptcy Counsel for the Debtors and Debtors-in-Possession

{01068093.1}
                                           19

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1996); see also, In re O'Connor, 808 F.2d 1393, 1396 (10th Cir. 1987); In re

Martin, 761 F.2d 472 (8th Cir. 1985).            The proposed adequate protection is

intended to protect a secured creditor from diminution in the value of its pre-

petition collateral while the Debtor uses it. See In re 494 Central Park Avenue

Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992); In re Beker Indus. Corp., 58

B.R. at 736; In re Hubbard Power & Light, 202 B.R. 680 (Bankr. E.D.N.Y. 1996).

         75.   As adequate protection under sections 363 and 361 of the Bankruptcy

Code for any security interests that Bank of Ann Arbor may assert, and to the extent

that the Debtor uses Cash Collateral and does not replace same, Debtor offers

replacement liens in all such types and descriptions of collateral which secured Bank

of Ann Arbor’s pre-petition liabilities and which are created, acquired or arise after

the Petition Date.

         76.   In addition, and as set forth in the Budget, the Debtor seeks authority to

pay $40,000 per month to Bank of Ann Arbor as adequate protection of its interest in

Cash Collateral.

         77.   As adequate protection under sections 363 and 361 of the Bankruptcy

Code for any security interests that Newtek may assert, and to the extent that the

Debtor uses Cash Collateral and does not replace same, Debtor offers replacement


[DN 6] and its Application to Employ Conlin McKenney & Philbrick, P.C. as
General Corporate Counsel for the Debtors and Debtors-in-Possession [DN 7].

{01068093.1}
                                            20

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liens in all such types and descriptions of collateral which secured Newtek’s pre-

petition liabilities and which are created, acquired or arise after the Petition Date.

         78.   In addition, and as set forth in the Budget, the Debtor seeks authority to

pay $62,760 per month to Newtek as adequate protection of its interest in Cash

Collateral.

         79.   As adequate protection under sections 363 and 361 of the Bankruptcy

Code for any security interests that TVT may assert, and to the extent that the Debtor

uses Cash Collateral and does not replace same, Debtor offers replacement liens in all

such types and descriptions of collateral which secured TVT’s pre-petition liabilities

and which are created, acquired or arise after the Petition Date.

         80.   In addition, and as set forth in the Budget, the Debtor seeks authority to

pay $40,000 per month to TVT as adequate protection of its interest in Cash

Collateral.

         81.   To the extent that this Court determines that any other creditor has an

interest in Cash Collateral, including the creditors listed on Exhibit B, Debtor will

offer that creditor replacement liens consistent with the priority of the lien held by

that creditor prior to the Petition Date and will not attach to the funds in the

Professional Fee Account.

         82.   The Debtor will thereby be able to provide its secured creditors with

adequate protection through its continuing operations and through the replacement

{01068093.1}
                                             21

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liens. See, e.g., Matter of Pursuit Athletic Footwear, Inc., 193 B.R. 713 (Bankr. D.

Del. 1996).7

         83.   On the basis of the adequate protection submitted above, the Debtor

submits that it should be granted authority to use its Cash Collateral.

               INTERIM APPROVAL OF THE USE OF CASH COLLATERAL

         84.   Bankruptcy Rules 4001(b) and (c) provide that a final hearing on a

motion to use cash collateral pursuant to § 363, and to obtain credit under § 364

may not be commenced earlier than 14 days after the service of such motion.

Upon request, however, the Court can conduct a preliminary, expedited hearing on

such a motion and authorize the use of cash collateral to the extent necessary to

avoid immediate and irreparable to the Debtor’s estate.

         85.   To avoid a disruption in the Debtor’s operations pending the Final

Hearing, the Debtor requests that the Court schedule and conduct a preliminary

hearing on the Motion and authorize the Debtor from and after the entry of the

Interim Order until the Final Hearing to use Cash Collateral pursuant to the terms

of the Interim Order.




7
 In Pursuit Athletic Footwear, the Court found that credible projections of post-
petition operating profits provided the secured creditor with adequate protection.
193 B.R. at 717-718.


{01068093.1}
                                             22

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      ESTABLISHING NOTICE PROCEDURES AND SCHEDULING FINAL HEARING

         86.   The Debtor will: (a) within twenty-four hours, provide notice of the

hearing on this Motion to: (i) the United States Trustee for the Eastern District of

Michigan, (ii) Bank of Ann Arbor, (iii) Newtek, (iv) TVT, (v) the entities listed on

Exhibit B or their agent, (vi) the Debtor’s 20 largest unsecured creditors, and (v)

all other parties who were required to be served under Fed. R. Bank. P. 4001(d),

and (b) give such notice by any one of the following methods which is available:

(i) ECF service; (ii) personal service; (iii) overnight mail; (iv) facsimile, or (v) e-

mail. In light of the nature of the relief requested, the Debtor submits that no other

or further notice is required.

         87.   The Debtor further respectfully requests that the Court schedule the

Final Hearing and authorize it to serve copies of the entered Interim Order, which

fixes the date, time and manner for the filing of objections, to: (i) the United States

Trustee for the Eastern District of Michigan, (ii) Bank of Ann Arbor, (iii) Newtek,

(iv) TVT, (v) the entities listed on Exhibit B or their agent, (vi) the Debtor’s 20

largest unsecured creditors, and (v) all other parties who were required to be served

under Fed. R. Bank. P. 4001(d), and (b) give such notice by any one of the

following methods which is available: (i) ECF service; (ii) personal service; (iii)

overnight mail; (iv) facsimile, or (v) e-mail. The Debtor requests that the Court

consider such notice of the Final Hearing to be sufficient notice under Bankruptcy

{01068093.1}
                                           23

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Rule 4001.

         88.     No previous request for the relief sought herein has been made to this

Court or any other court.

         WHEREFORE, the Debtor respectfully requests that the Court enter an

order, substantially in the form of attached Exhibit A, granting the relief requested

in this Motion and granting such further relief as the Court deems appropriate.




                                               Respectfully submitted,

                                               SCHAFER AND WEINER, PLLC

                                               /s/ Kim Hillary
                                               KIM HILLARY (P67534)
                                               HOWARD BORIN (P51959)
                                               Proposed Attorneys for Debtor
                                               40950 Woodward Ave., Ste. 100
                                               Bloomfield Hills, MI 48304
                                               (248) 540-3340
Dated: August 19, 2024                         khillary@schaferandweiner.com




{01068093.1}
                                             24

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                        Exhibit
                          A



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                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


In re:                                                   Case No. 24-47922-tjt

Heritage Collegiate Apparel, Inc. f/k/a                  In Proceedings Under
M-Den, Inc., d/b/a The M Den                             Chapter 11

                                                         Hon. Thomas J. Tucker
                     Debtor.
                                           /

                         ORDER GRANTING
 DEBTOR’S FIRST DAY MOTION FOR INTERIM AND FINAL ORDERS
        (I) AUTHORIZING DEBTOR TO USE CASH COLLATERAL;
  (II) PROVIDING ADEQUATE PROTECTION TO THE PREPETITION
          LENDERS; AND (III) SCHEDULING A FINAL HEARING

         Upon consideration of Heritage Collegiate Apparel, Inc., f/k/a M-Den, Inc.,

d/b/a/ The M Den’s (“Debtor”) First Day Motion for Interim and Final Orders (i)

Authorizing Debtor to Use Cash Collateral; (ii) Providing Adequate Protection to

the Prepetition Lenders; and (iii) Scheduling a Final Hearing (the “Motion”); upon

consideration of the Declaration of Scott Hirth (the “Hirth Declaration”); and the

Court having jurisdiction pursuant to sections 157 and 1334 of title 28 of the United

States Code to consider the Motion and the relief requested therein; and venue being

proper in this Court pursuant to sections 1408 and 1409 of title 28 of the United

States Code; and this matter being a core proceeding within the meaning of section

157 of title 28 of the United States Code; and the Court having determined that the

{01071056.1}                                   1

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relief sought in the Motion is in the best interest of the Debtor, its creditors, and all

parties-in-interest; and the Court having heard the sufficient evidence and statements

of counsel regarding the Motion and having determined that the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein,

therefore;

         IT APPEARS, AND THE COURT HEREBY FINDS that:

         A.    On August 16, 2024 (“Petition Date”), Debtor filed its voluntary

petition for relief under Chapter 11 of the Bankruptcy Code. Since the Petition Date,

Debtor has continued in possession of its assets and has continued to operate its

business as a debtor-in-possession pursuant to sections 1107(A) and 1108 of the

Bankruptcy Code, with no official committee of unsecured creditors having been

formed.

         B.    Debtor requires the use of the Cash Collateral (as defined in the Motion)

for the maintenance, preservation and liquidation of its assets, and for the operation

of its business and the payment of business expenses in the ordinary course.

         C.    The relief provided herein is necessary, essential and appropriate for

Debtor’s continued operations and is otherwise necessary to avoid immediate and

irreparable harm to the Debtor and its estate pending a final hearing on the Motion.

         D.    The Debtor provided notice of the initial hearing on the Motion by

serving notice in accordance with Local Rule 9013-1 (E.D. Mich.). The notice


{01071056.1}                                2

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provided is appropriate, adequate and proper under the circumstances of this case in

accordance with Fed. R. Bankr. P. 4001(b) and Local Rule 4001-2 (E.D. Mich.).

         E.    Pursuant to a Commercial Security Agreement dated July 5, 2020, Bank

of Ann Arbor has a first priority perfected security interest in and lien on all of

Debtor’s assets, including its Cash Collateral, to secure all amounts owed by Debtor

to Bank of Ann Arbor. Bank of Ann Arbor perfected its lien by the filing of a UCC

Financing Statement with the State of Michigan on May 6, 1999, file number

D514533, which has been continued from time to time.

         F.    The Debtor is indebted to Bank of Ann Arbor pursuant to a Promissory

Note and Business Loan Agreement dated October 5, 2023, in the face amount of

$2,150,000 (“Loan 100184”). The current balance on Loan 100184 is approximately

$2,255,675.50. This loan matured prior to the Petition Date and is due in full.

         G.    The Debtor is indebted to Bank of Ann Arbor pursuant to a Promissory

Note and Business Loan Agreement dated July 29, 2022, in the face amount of

$292,061.99 (“Loan 201529”).          The current balance on Loan 201529 is

approximately $103,184.41.

         H.    Debtor guaranteed repayment of all amounts owed by MDen

Properties, LLC (“MDen Properties”) to Bank of Ann Arbor pursuant to a

Commercial Guaranty dated July 27, 2017.




{01071056.1}                               3

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         I.    MDen Properties is indebted to Bank of Ann Arbor pursuant to a

Promissory Note dated July 29, 2022, in the face amount of $658,554.57 (“Loan

401828”). The current balance on Loan 401828 is approximately $606,290.36.

         J.    MDen Properties is also indebted to Bank of Ann Arbor pursuant to a

Promissory Note dated June 25, 2022, in the face amount of $283,599.54 (“Loan

400994”). The current balance on Loan 400994 is approximately $179,530.36.

         K.    Debtor guaranteed repayment of all amounts owed by MDen Stadium

Properties, LLC (“Stadium Properties”) to Bank of Ann Arbor pursuant to a

Commercial Guaranty dated June 27, 2017.

         L.    Stadium Properties is indebted to Bank of Ann Arbor pursuant to a

Promissory Note dated March 23, 2024, in the face amount of $870,335 (“Loan

401827”). The current balance on Loan 401827 is approximately $861,082.35.

         M.    M.    Debtor guaranteed repayment of all amounts owed by MDen

State Street Properties, LLC (“State Street Properties”) to Bank of Ann Arbor

pursuant to a Commercial Guaranty dated June 27, 2017.

          N.   State Street Properties is indebted to Bank of Ann Arbor pursuant to a

Promissory Note dated July 27, 2022, in the face amount of $2,256,976.20 (“Loan

401636”). The current balance on Loan 401636 is approximately $2,057,684.10.

         O.    Debtor is indebted to Newtek Bank (“Newtek”) pursuant to a U.S.

Small Business Administration Note dated December 10, 2020, in the face amount


{01071056.1}                               4

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of $4,600,000 (“Newtek Note”). The current balance on the Newtek Note is

approximately $4,835,106.04.

          P.   The Newtek Note is secured by a lien on the Debtor’s assets, including

its Cash Collateral, pursuant to a Commercial Security Agreement dated December

10, 2020.      Newtek perfected its lien by the filing of a UCC Financing Statement

with the State of Michigan on November 13, 2020, file number 20201113000487-3.

         Q.    Debtor is indebted to TVT 2.0, LLC (“TVT”) pursuant to a Business

Loan and Security Agreement dated March 23, 2023, in the face amount of

$2,500,000 (“TVT Agreement”). The current balance on the TVT Agreement is

approximately $1,003,941 and TVT alleges that this debt is secured by a lien on

Debtor’s Cash Collateral.

         NOW THEREFORE, IT IS HEREBY ORDERED that:

         1.    The Motion is Granted.

         2.    All capitalized terms not defined in this Order shall have the meanings

ascribed to them in the Motion.

         3.    Debtor is authorized to use Cash Collateral and grant adequate

protection in accordance with the terms of the Motion.

         4.    From the Petition Date through September 15, 2024, Debtor projects

that it will need to spend approximately $936,489 to avoid immediate and irreparable

harm and to pay the immediate operating expenses of the Debtor’s business, as set


{01071056.1}                               5

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forth in the Budget with allowance for a fifteen percent (15%) variance per line item.

The Debtor’s authorized use of Cash Collateral is limited to the amounts set forth in

the Budget prior to the entry of a final order authorizing the Debtor to use Cash

Collateral or the time this Order becomes a final order, as the case may be.

         5.    Bank of Ann Arbor has a perfected, first priority security interest in the

Cash Collateral and substantially all of the Debtor’s assets, including accounts

receivable, other cash collateral, and inventory.

         6.    To the extent that Debtor uses such Cash Collateral and does not replace

it, and only to the extent of any diminution in the value of such Cash Collateral,

Bank of Ann Arbor is granted replacement liens in all types and descriptions of

collateral that were secured by the applicable pre-petition loan documents, which are

created, acquired, or arise after the Petition Date.

         7.    To the extent that Debtor uses such Cash Collateral and does not replace

it, and only to the extent of any diminution in the value of such Cash Collateral,

Newtek is granted replacement liens in all types and descriptions of collateral that

were secured by the applicable pre-petition loan documents, which are created,

acquired, or arise after the Petition Date.

         8.    To the extent that Debtor uses such Cash Collateral and does not replace

it, and only to the extent of any diminution in the value of such Cash Collateral, TVT

is granted replacement liens in all types and descriptions of collateral that were


{01071056.1}                                  6

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secured by the applicable pre-petition loan documents, which are created, acquired,

or arise after the Petition Date.

         9.    As additional adequate protection to Bank of Ann Arbor, the Debtor shall

pay it $40,000 per month as set forth in the Budget.

         10.   As additional adequate protection to Newtek, the Debtor shall pay it

$66,000 per month as set forth in the Budget.

         11.   As additional adequate protection to TVT, the Debtor shall pay it $40,000

per month as set forth in the Budget.

         12.   The Debtor shall provide weekly reports to Bank of Ann Arbor, Newtek

and TVT evidencing its compliance with the Budget.

         13.   To the extent another creditor claims an interest in Cash Collateral, and

to the extent that Debtor uses such Cash Collateral and does not replace it and only

to the extent of any diminution in the value of such Cash Collateral, such creditor

shall be entitled to a replacement lien on all types and descriptions of collateral that

were secured by the applicable pre-petition loan documents, which are created,

acquired, or arise after the Petition Date.

         14.   The Debtor is authorized to voluntarily escrow, on a monthly basis,

$40,000 into a debtor-in-possession account (the “Professional Fee Account”)

earmarked to pay the professional fees incurred by its legal counsel in connection

with the bankruptcy proceeding to the extent the fees are allowed by this Court.


{01071056.1}                                  7

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         15.   The Professional Fee Account will remain property of the estate, until

such time that professional fees are allowed by court order and will be free and clear

of the liens, claims, and encumbrances of prepetition lenders.

         16.   The replacement liens granted to pre-petition lenders under this Order

shall not apply to this Professional Fee Account.

         17.   The Debtor shall, within twenty-four (24) hours following the entry of this

order, serve copies of this Order and the Debtor’s motion for entry of this order with all

attachments on the 20 largest unsecured creditors, all secured creditors, any committee

formed in this case, the United States Trustee’s Office, and all other parties who are required

to be served under Fed. R. Bankr. P. 4001(d).

         18.   All parties seeking to object to this Order must file a written objection

within fourteen (14) days after the entry of this Order, except that an official

committee may file objections within fourteen (14) days after the official committee

is served with the entered Order.

         19.   If an objection is timely filed, the final hearing on this Order will be

held before the Honorable Thomas J. Tucker, United States Bankruptcy Court for

the Eastern District of Michigan, Southern Division, 211 West Fort Street, 19th Floor,

Detroit, Michigan, on the _____ day of _________, 2024, at ____:___ __.m. to

consider such objections.




{01071056.1}                                    8

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         20.     If no timely objections are filed, then this Order will become a final

order without a further hearing, and the Debtor will be authorized to spend for those

expenses referenced in the Motion, as well as any other expenses necessary for

operating the business in the ordinary course going forward.

         21.   The Debtor’s authority to use Cash Collateral shall continue until

otherwise ordered by this Court.




{01071056.1}                                 9

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                        Exhibit
                          B



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                                                 Financing Statement   Initial Financing
                 Creditor             Debtor           Number          Statement Date                                                        Collateral
                                                                                         all of Debtor's accounts, accounts receivable, contract receivables, contract rights, notes, drafts, acceptances,
                                                                                         instruments, chattel paper and general intangibles, and all guarantees and suretyship agreements relating
                                                                                         thereto and all security for payment thereof, now and hereafter existing or arising; and all of Debtor's
                                                                                         equipment, including all furniture, furnishings, machinery, fixtures, storage shelves and other goods used in the
                                                                                         conduct of Debtor's business, including, but
Amerifi Capital, LLC               M Den, Inc.   20230817000417-3              8/17/2023 not limited to, all motor vehicles and rolling stock, now owned or hereafter acquired.

                                                                                         All assets of the Debtor(s) now owned or hereafter acquired and wherever located including but not limited to,
                                                                                         any and all equipment, fixtures, accounts receivables, inventory, accounts, credit card receivables, chattel
Cash Coin, LLC                     M Den, Inc.   202109090000986-0              9/9/2021 paper, documents, instruments, investment property, general intangibles, and deposit accounts.

                                                                                         (a) all assets, including without limitation, all deposit accounts, accounts- receivable, and other receivables,
                                                                                         chattel paper, documents, equipment, general intangibles, instruments, investment property, general tangibles
                                                                                         and inventory, as those terms are defined by Article 9 of the Uniform Commercial Code (the "UCC"), now or
                                                                                         hereafter owned or acquired by any Merchant; and (b) all proceeds, as that term is defined by Article 9 of the
                                                                                         UCC. The parties acknowledge and agree that any security interest granted to Churchill Capital under any other
                                                                                         agreement between any Merchant or Guarantor and Churchill Capital Partners (the "Cross -Collateral") will
Churchill Capital Partners, LLC    M Den, Inc.   20240312000439-4              3/12/2024 secure the obligations hereunder and under this Agreement.

                                                                                         All Assets now owned or hereafter acquired and wherever located, including but not limited to, the following
                                                                                         subcategories of assets: a. Accounts, including but not limited to, credit card receivables; b. Chattel Paper; c.
                                                                                         Inventory; d. Equipment; e. Instruments, including but not limited to, Promissory Notes; f. Investment Property;
                                                                                         g. Documents; h. Deposit Accounts; i. Letter of Credits Rights; j. General Intangibles; k. Supporting Obligations;
                                                                                         and I. Proceeds and Products of the foregoing. NOTICE PURSUANT TO AN AGREEMENT BETWEEN DEBTOR AND
                                                                                         SECURED PARTY, DEBTOR
                                                                                         HAS AGREED NOT TO FURTHER ENCUMBER THE COLLATERAL DESCRIBED HEREIN, THE FURTHER
                                                                                         ENCUMBERING OF WHICH MAY CONSTITUTE THE TORTIOUS INTERFERENCE WITH THE SECURED PARTY'S
                                                                                         RIGHT BY SUCH ENCUMBRANCER IN THE EVENT THAT ANY ENTITY IS GRANTED A SECURITY INTEREST IN
                                                                                         DEBTOR'S ACCOUNTS, CHATTEL PAPER OR GENERAL INTANGIBLES CONTRARY TO THE ABOVE, THE SECURED
Clearview Funding Solutions, LLC   M Den, Inc.   20231208000240-8              12/8/2023 PARTY ASSERTS A CLAIM TO ANY PROCEEDS THEREOF RECEIVED BY SUCH ENTITY.
Corporation Service Company as
Representative                     M Den, Inc.   20230918000125-3              9/18/2023 Future receipts of accounts receivable




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                                                 Financing Statement   Initial Financing
               Creditor               Debtor           Number          Statement Date                                                          Collateral



                                                                                           Receivables- All Assets now owned or hereafter acquired and wherever located, includ ng bu not limited to, the
                                                                                           following subcategories of assets: a. Accounts, including but not limited to, credit card receivables; b. Chattel
                                                                                           Paper; c. Inventory; d. Equipment; e. Instruments, including but not limited to, Promissory Notes; f. Investment
                                                                                           Property; g. Documents; h. Deposit Accounts: I Letter of Credit Rights; j. General Intangibles; k. Supporting
                                                                                           Obligations; and i. Letter of Credit Rights; j. General Intangibles; k. Supporting Obligations; and i. Proceeds and
                                                                                           Products of the foregoing. NOTICE PURSUANT TO AN AGREEMENT BETWEEN DEBTOR AND SECURED PARTY,
                                                                                           DEBTOR HAS AGREED NOT TO FURTHER ENCUMBER THE COLLATERAL DESCRIBED HEREIN. THE FURTHER
                                                                                           ENCUMBERING OF WHICH MAY CONSTITUTE THE TORTIOUS INTERFERENCE WITH THE SECURED PARTY'S
                                                                                           RIGHT BY SUCH ENCUMBRANCES IN THE EVENT THAT ANY ENTITY IS GRANTED A SECURITY INTEREST IN
Corporation Service Company as                                                             DEBTOR'S ACCOUNTS, CHATTEL PAPER OR GENERAL INTANGIBLES CONTRARY TO THE ABOVE, THE SECURED
Representative                     M-Den, Inc.   20230609000353-9                          PARTY ASSERTS A CLAIM TO ANY PROCEEDS THEREOF RECEIVED BY SUCH ENTITY.
Crusader Group LLC                 M-Den, Inc.   20231204000694-9                          ACCOUNTS RECEIVABLE



                                                                                         All Assets now owned or hereafter acquired and wherever located, including, but not limited to, the following
                                                                                         subcategories of assets: a. Accounts, including but not limited to, credit card receivables; b. Chattel Paper; c.
                                                                                         Inventory; d. Equipment; e. Instruments, including, but not limited to, Promissory Notes; f. Investment Property;
                                                                                         g. Documents; h. Deposit Accounts; i. Letter of Credits Rights; j. General IntaNgibles; k. Supporting Obligations;
                                                                                         l. Prodeeds and Products of the foregoing. NOTICE PURSUANT TO AN AGREEMENT BETWEEN DEBTOR AND
                                                                                         SECURED PARTY, DEBTOR HAS AGREED NOT TO FURTHER ENCUMBER THE COLLATERAL DESCRIBED HEREIN,
                                                                                         THE FURTHER ENCUMBERING OF WHICH MAY CONSTITUTE THE TORTIOUS INTERFERENCE WITH THE
                                                                                         SECURED PARTY'S RIGHT BY SUCH ENCUMBRANCE IN THE EVENT THAT ANY ENTITY IS GRANTED A SECURITY
                                                                                         INTEREST IN DEBTOR'S ACCOUNTS, CHATTEL PAPER, OR GENERAL INTANGIBLES CONTRARY TO THE ABOVE.
CT Corporation as Representative   M Den, Inc.   20200312000523-6              3/12/2020 THE SECURED PARTY ASSERTS A CLAIM TO ANY PROCEEDS THEREOF RECEIVED BY SUCH ENTITY.

                                                                                         "Debtor and Secured Party also hereby agree that the security pledged by Debtor as collateral for the underlying
                                                                                         obligation includes the following: All current assets of the Debtor as of the enforcement date of this Security
                                                                                         Instrument, including but not limited to cash, accounts receivable, other receivables, equipment, inventory,
CT Corporation as Representative   M Den, Inc.   20230403000622-4               4/3/2023 along with all trade fixtures belonging to the Debtor; all inclusive of after acquired property."
                                                                                         All assets of the Debtor, now existing and hereafter arising, wherever located. NOTICE -PURSUANT TO AN
                                                                                         AGREEMENT BETWEEN DEBTOR AND SECURED PARTY, DEBTOR HAS AGREED NOT TO FURTHER ENCUMBER
                                                                                         THE COLLATERAL DESCRIBED HEREIN, THE FURTHER ENCUMBERING OF WHICH MAY CONSTITUTE THE
                                                                                         TORTIOUS INTERFERENCE WITH SECURED PARTY'S RIGHTS BY SUCH ENCUMBRANCER. IN THE EVENT THAT
                                                                                         ANY ENTITY IS GRANTED A SECURITY INTEREST IN DEBTOR'S ACCOUNTS, INVENTORY, CHATTEL PAPER OR
                                                                                         GENERAL INTANGIBLES CONTRARY TO THE ABOVE, THE SECURED PARTY ASSERTS A CLAIM TO ANY
CT Corporation as Representative   M Den, Inc.   20230605000181-8               6/5/2023 PROCEEDS THEREOF RECEIVED BY SUCH ENTITY


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                                                 Financing Statement   Initial Financing
               Creditor               Debtor           Number          Statement Date                                                        Collateral

                                                                                         All accounts receivable, receipts, instruments, contract rights and other rights to receive the payment of
                                                                                         money, patents, chattel paper, licenses, leases and general intangibles, whether now owned acquired or
CT Corporation as Representative   M Den, Inc.   20230612000843-1              6/12/2023 arising, and all of the debtor's books and records relating to any of the foregoing.

                                                                                         All accounts receivable, receipts, instruments, contract rights and other rights to receive the payment of
                                                                                         money, patents, chattel paper, licenses, leases and general intangibles, whether now owned acquired or
CT Corporation as Representative   M Den, Inc.   20230821000625-3              8/21/2023 arising, and all of the debtor's books and records relating to any of the foregoing.

                                                                                         All accounts receivable, receipts, instruments, contract rights and other rights to receive the payment of
                                                                                         money, patents, chattel paper, licenses, leases and general intangibles, whether now owned acquired or
CT Corporation as Representative   M Den, Inc.   20240117000614-0              1/17/2024 arising, and all of the debtor's books and records relating to any of the foregoing.

                                                                                         All assets now owned, or hereafter acquired, including without limitation: (a) all accounts, including without
                                                                                         limitation, all deposit accounts, accounts- receivable, and other receivables, chattel paper, documents,
                                                                                         equipment, general intangibles, instruments, and inventory, as those terms are defined by Article 9 of the
                                                                                         Uniform Commercial Code (the "UCC"), now or hereafter owned or acquired by Merchant; and (b) all proceeds,
CT Corporation as Representative   M Den, Inc.   20240327000283-9              3/27/2024 as that term is defined by Article 9 of the UCC ("a" and "b" collectively, the "Collateral").

                                                                                         All accounts receivable, receipts, instruments, contract rights and other rights to receive the payment of
                                                                                         money, patents, chattel paper, licenses, leases and general intangibles, whether now owned acquired or
CT Corporation as Representative   M Den, Inc.   20240521000542-3              5/21/2024 arising, and all of the debtor's books and records relating to any of the foregoing.

                                                                                         All accounts receivable, receipts, instruments, contract rights and other rights to receive the payment of
                                                                                         money, patents, chattel paper, licenses, leases and general intangibles, whether now owned acquired or
CT Corporation as Representative   M Den, Inc.   20231101000671-2              11/1/2023 arising, and all of the debtor's books and records relating to any of the foregoing.




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                                                 Financing Statement   Initial Financing
               Creditor               Debtor           Number          Statement Date                                                         Collateral

                                                                                         Receivables- All personal property of every kind and nature, including, without limitation, al accounts, contract
                                                                                         rights, rights to the payment of money, insurance claims and proceeds, chattel paper, electr'c chattel paper,
                                                                                         documents, instruments, securities and other investment property, deposit accounts, supporting obligations of
                                                                                         every nature, and general intangibles, including without limitation, customer lists, and all books and records
                                                                                         related thereto, and all recorded
                                                                                         data of any kind and any nature, regardless of the medium of recording; together with, to the extent not listed
                                                                                         above as the original collateral, all substitutions and replacements for and products of any of the foregoing
                                                                                         property, and together with proceeds of any and all of the foregoing property. NOTICE PURSUANT TO AN
                                                                                         AGREEMENT BETWEEN DEBTOR AND SECURED PARTY, DEBTOR HAS AGREED NOT TO FURTHER ENCUMBER
                                                                                         THE COLLATERAL DESCRIBED HEREIN. THE FURTHER ENCUMBERING OF WHICH MAY CONSTITUTE THE
                                                                                         TORTIOUS INTERFERENCE WITH THE SECURED PARTY'S RIGHT BY SUCH ENCUMBRANCES IN THE EVENT THAT
                                                                                         ANY ENTITY IS GRANTED A SECURITY INTEREST IN DEBTOR'S ACCOUNTS, CHATTEL PAPER OR GENERAL
                                                                                         INTANGIBLES CONTRARY TO THE ABOVE, THE SECURED PARTY ASSERTS A CLAIM TO ANY PROCEEDS
CT Corporation as Representative   M Den, Inc.   20240618001097-0              6/18/2024 THEREOF RECEIVED BY SUCH ENTITY.

                                                                                         All accounts receivable, inventory, instruments, contract rights and other rights to receive the payment of
First Corporate Solution as                                                              money, patents chattel paper, licenses, leases, intellectual property, and general intangibles, whether now
Representative                     M Den, Inc.   20201102000848-4              11/2/2020 owned of hereafter acquired or arising, and all of Debtor's books and records relating to any of the foregoing.



                                                                                         All Assets now owned or hereafter acquired and wherever located, including but not limited to, the following
                                                                                         subcategories of assets: a. Accounts, including but not limited to, credit card receivables; b. Chattel Paper; c.
                                                                                         Inventory; d. Equipment; e. Instruments, including but not limited to, Promissory Notes; f. Investment Property;
                                                                                         g. Documents; h. Deposit Accounts; i. Letter of Credits Rights; j. General Intangibles; k. Supporting Obligations;
                                                                                         and I. Proceeds and Products of the foregoing. NOTICE PURSUANT TO AN AGREEMENT BETWEEN DEBTOR AND
                                                                                         SECURED PARTY, DEBTOR HAS AGREED NOT TO FURTHER ENCUMBER THE COLLATERAL DESCRIBED HEREIN,
                                                                                         THE FURTHER ENCUMBERING OF WHICH MAY CONSTITUTE THE TORTIOUS INTERFERENCE WITH THE
                                                                                         SECURED PARTY'S RIGHT BY SUCH ENCUMBRANCE IN THE EVENT THAT ANY ENTITY IS GRANTED A SECURITY
First Corporate Solution as                                                              INTEREST IN DEBTOR'S ACCOUNTS, CHATTEL PAPER OR GENERAL INTANGIBLES CONTRARY TO THE ABOVE,
Representative                     M Den, Inc.   20240530000539-7              5/30/2024 THE SECURED PARTY ASSERTS A CLAIM TO ANY PROCEEDS THEREOF RECEIVED BY SUCH ENTITY.
Gold Crest Capital, LLC            M Den, Inc.   202104130000408-5             4/13/2021 Receivables




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                                                Financing Statement   Initial Financing
               Creditor              Debtor           Number          Statement Date                                                           Collateral


                                                                                       All Assets now owned or hereafter accuried and wherever located, including but not limited to , he following
                                                                                       Subcategories of assets: a. Accounts, including but not limited to, credit card receivables; b. chatttel paper; c.
                                                                                       Inventory; d. equipment; e. Instruments, including but not limited to, promissory Notes; f. Investment property;
                                                                                       g. Documents; h. Deposit Accounts; i. Letter of credits rights; j. General intangibiles ; k. Supporting obligations;
                                                                                       and 1. proceedes and prouducts of the foregoing. Notice pursuant to an agreement betweeen debtor and the
                                                                                       secured party, debtor has agreed not to further encumber the collateral described herin, the furthere
                                                                                       encumbering of
                                                                                       which may constitute the tortious interference with the secured party's right by such encumbrancer. In the
                                                                                       event that any entity is granted a security interest in debtor's account, chattel paper or general intangibles
Grover Capital, LLC               M Den, Inc.   202010150000596-9           10/15/2020 contrary to the above, the secured party asserts a claim to any proceeds thereoff received by such entity
                                                                                        All assets of the Debtor now owned or hereafter acquired and wherever located, including, but not limited to,
                                                                                        any and all equipment, fixtures, inventory, accounts, accounts receivables, credit card receivables, chattel
                                                                                        paper, documents, instruments, investment property, general intangibles, letter -of -credit rights and deposit
Kesef Funding Group               M Den, Inc.   20231101000839-4              11/1/2023 accounts, together with any products and proceeds thereof.

                                                                                          As security for the prompt and complete payment and performance of any and all liabilities, obligations,
                                                                                          covenants or agreements of the Seller pursuant to this Agreement (collectively, the "Obligations"), the Seller
                                                                                          hereby pledges, assigns and hypothecates to the Purchaser (the "Pledge") and grants to the Purchaser a
                                                                                          continuing, perfected and first priority lien upon and security interest in all of the Seller's rights, titles and
                                                                                          interest in all accounts, including, but not limited to: deposit accounts, accounts receivables, other
                                                                                          receivables, chattel paper, documents, equipment, general intangibles, instruments and inventory
Ocean Funding Corp.               M-Den, Inc.   20240620000859-0                          (collectively, the "Collateral"), whether now existing or hereinafter acquired.

                                                                                       All assets of the Debtor now owned or hereafter acquired and wherever located, including, but not limited to,
                                                                                       any and all equipment, fixtures, inventory, accounts, accounts receivables, credit card receivables, chattel
                                                                                       paper, documents, instruments, investment property, general intangibles, letter -of -credit rights and deposit
Proventure Capital, LLC           M Den, Inc.   20231026000207-1            10/26/2023 accounts, together with any products and proceeds thereof.


                                                                                        All assets of the Debtor(s) now owned or hereafter acquired and wherever located including but not limited to:
                                                                                        any and all equipment, fixtures, accounts receivables, inventory, accounts, credit card receivables, chattel
Prudential Capital Funding, LLC   M Den, Inc.   20230707000249-8               7/7/2023 paper, documents, instruments, investment property, general intangibles, and deposit accounts.




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                                              Financing Statement   Initial Financing
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                                                                                      Receivables- All Assets now owned or hereafter acquired and wherever located, including but not limited to, the
                                                                                      following subcategories of assets: a. Accounts, including but not limited to, credit card receivables; b. Chattel
                                                                                      Paper; c. Inventory; d. Equipment; e. Instruments, including but not limited to, Promissory Notes; f. Investment
                                                                                      Property; g. Documents; h. Deposit Accounts: I Letter of Credit Rights; j. General Intangibles; k. Supporting
                                                                                      Obligations; and i. Letter of Credit Rights; j. General Intangibles; k. Supporting Obligations; and i. Proceeds and
                                                                                      Products of the foregoing. NOTICE PURSUANT TO AN AGREEMENT BETWEEN DEBTOR AND SECURED PARTY,
                                                                                      DEBTOR HAS AGREED NOT TO FURTHER ENCUMBER THE COLLATERAL DESCRIBED HEREIN. THE FURTHER
                                                                                      ENCUMBERING OF WHICH MAY CONSTITUTE THE TORTIOUS INTERFERENCE WITH THE SECURED PARTY'S
                                                                                      RIGHT BY SUCH ENCUMBRANCES IN THE EVENT THAT ANY ENTITY IS GRANTED A SECURITY INTEREST IN
                                                                                      DEBTOR'S ACCOUNTS, CHATTEL PAPER OR GENERAL INTANGIBLES CONTRARY TO THE ABOVE, THE SECURED
V Cap Group                     M Den, Inc.   20230222000528-6              2/22/2023 PARTY ASSERTS A CLAIM TO ANY PROCEEDS THEREOF RECEIVED BY SUCH ENTITY.

                                                                                      All assets, including Accounts Receivable, now owned or hereafter acquired and wherever located, including
                                                                                      but not limited to, the following subcategories of assets: a. Accounts, including but not limited to, credit card
                                                                                      receivables; b. Chattel Paper; c. Inventory; d. Equipment; e. Instruments, including but not limited to,
                                                                                      Promissory Notes; f. Investment Property; g. Documents; h. Deposit Accounts; i. Letter of Credit Rights; j.
                                                                                      General Intangibles; k. Supporting Obligations; and I. Proceeds and Products of the foregoing. NOTICE
                                                                                      PURSUANT TO AN AGREEMENT BETWEEN DEBTOR AND SECURED PARTY, DEBTOR HAS AGREED NOT TO
                                                                                      FURTHER ENCUMBER THE COLLATERAL DESCRIBED HEREIN. THE FURTHER ENCUMBERING OF WHICH MAY
                                                                                      CONSTITUTE THE TORTIOUS INTERFERENCE WITH THE SECURED PARTY'S RIGHT BY SUCH ENCUMBRANCES
                                                                                      IN THE EVENT THAT ANY ENTITY IS GRANTED A SECURITY INTEREST IN DEBTOR'S ACCOUNTS, CHATTEL PAPER
                                                                                      OR GENERAL INTANGIBLES CONTRARY TO THE ABOVE, THE SECURED PARTY ASSERTS A CLAIM TO ANY
Vault 26 Capital, LLC           M Den, Inc.   20231109000701-4              11/9/2023 PROCEEDS THEREOF RECEIVED BY SUCH ENTITY.


                                                                                     Seller grants Buyer a security interest in all of Seller's present and future accounts, chattel paper, deposit
                                                                                     accounts, personal property, assets and fixtures, general intangibles, instruments, equipment, inventory
                                                                                     wherever located, and proceeds now or hereafter owned or acquired by Seller. Seller authorizes Buyer to file
                                                                                     one or more UCC-1 forms consistent with the Uniform Commercial Code (""UCC"") in order to give notice of
                                                                                     this security interest and that the Purchased Amount of Future Receipts is the sole property of Buyer. The UCC
                                                                                     filing may state that such sale is intended to be a sale and not an assignment for security and may state that the
                                                                                     Seller is prohibited from obtaining any financing that impairs the value of the Future Receipts or Buyer's right to
                                                                                     collect same. Seller authorizes Buyer to debit the Account for all costs incurred by Buyer associated with the
Westwood Capital Funding, LLC   M Den, Inc.   202012280000121-1           12/28/2020 filing, amendment or termination of any UCC filings.




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                                                Financing Statement   Initial Financing
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                                                                                        The Collateral includes the following property that Debtor now owns or shall acquire or create immediately
                                                                                        upon the creation thereof: (1) any and all amounts owing to Debtor now or in the future from any merchant
                                                                                        processor(s) processing charges made by customers of Debtor via credit card or debit card transactions; and
                                                                                        (2) all other tangible and intangible personal property, including but not limited to (a) inventory, (b) equipment,
                                                                                        (c) investment property, including certified and uncertified securities, securities accounts, security
                                                                                        entitlements, commodity contracts and commodity accounts, (d) instruments, including promissory notes, (e)
                                                                                        chattel paper, including tangible chattel paper and electronic chattel paper, (f) documents, (g) letters of credit
                                                                                        rights, (h) accounts, including health care insurance receivables, (i) deposit accounts, (j)
                                                                                        commercial tort claims, (k) general tangibles, including payment intangibles and software, and (l) cash
                                                                                        proceeds; as all of the above terms shall be defined by the Uniform Commercial Code (the “UCC”). The
                                                                                        security interest Debtor grants includes all accessions, attachments, parts, supplies and replacements for the
Westwood Funding Solutions, LLC   M Den, Inc.   202102020000626-5              2/2/2021 collateral, all products, proceeds and collections thereof and all records and data relating thereto.




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                        Exhibit
                          C



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                                                                         2024 CASH - 13 WEEK BK PLAN - LIQUIDATE MODEL

                                                 1             2            3            4            5            6            7            8          9              10             11           12         13
                                              WEEK OF      WEEK OF      WEEK OF      WEEK OF      WEEK OF      WEEK OF      WEEK OF      WEEK OF    WEEK OF        WEEK OF        WEEK OF       WEEK OF    WEEK OF
                                              8/19/2024    8/26/2024     9/2/2024     9/9/2024    9/16/2024    9/23/2024    10/1/2024    10/7/2024 10/14/2024      10/21/2024     10/28/2024    11/4/2024 11/11/2024
CAMPUS STORE                                   750,160      831,904      633,929      689,143      708,782      677,366      301,479      408,761    396,825         710,046        117,576      862,428    554,857
TENT                                                -       100,000      100,000      100,000      100,000      100,000           -            -          -          100,000             -
TOTAL                                          750,160      931,904      733,929      789,143      808,782      777,366      301,479      408,761    396,825         810,046        117,576      862,428      554,857
OTHER                                               -          9,500        5,000        5,000        5,000        9,500          -            -          -                -           4,500
GRAND TOTAL CASH IN                            750,160      936,404      733,929      789,143      808,782      781,866      301,479      408,761    396,825         810,046        122,076     1,724,856    1,109,714
                                                                 -            -            -            -            -            -            -          -                -             -
PAYROLL REGULAR                                 (19,000)   (144,000)     (15,000)    (144,000)      (15,000)     (96,000)     (10,000)     (66,000)   (10,000)        (66,000)       (10,000)     (66,000)     (10,000)
PAYROLL BONUS                                                    -            -            -            -            -            -            -          -                -             -            -       (150,000)
OVERHEAD/HEALTH INSURANCE                                    (36,136)         -            -            -        (25,000)         -            -          -           (25,000)           -            -            -
INTERNET                                            -            -         (2,465)         -            -            -         (2,465)         -          -                -             -         (2,465)         -
UTILITIES                                           -            -         (5,800)         -            -            -         (5,800)         -          -                -             -         (5,800)         -
PHONES                                              -            -         (5,000)         -            -            -         (5,000)         -          -                -             -         (5,000)         -
WEB HOSTING                                         -            -            -            -            -            -            -            -          -                -             -            -            -
SALES TAX SERVICE                                   -            -         (3,294)         -            -            -         (3,294)         -          -                -             -         (3,294)         -
P&C INSURANCE                                       -        (17,651)      (5,516)         -            -            -         (5,516)         -          -                -             -         (5,516)         -
SHIPPING                                            -        (15,000)     (15,000)         -        (25,000)         -            -            -          -                -             -            -            -
SHIPPING SUPPLIES                                   -        (10,000)         -            -        (10,000)         -            -            -          -                -             -            -        (10,000)
SOFTWARE PAYMENTS                                   -            -            -            -            -            -            -            -          -                -             -            -            -
TAXES - SALES / OTHER                               -            -            -      (150,000)          -            -            -            -      (50,000)             -             -            -        (50,000)
NEWTEK SBA                                          -            -        (62,760)         -            -            -       (62,760)          -          -                -             -        (62,760)         -
TVT                                                          (10,000)     (10,000)     (10,000)     (10,000)     (10,000)     (10,000)     (10,000)   (10,000)        (10,000)       (10,000)     (10,000)     (10,000)
BOAA CONSTRUCTION LOAN                                        (8,828)                                             (8,828)                                               (8,828)
CH 11 COSTS                                         -            -        (10,000)     (10,000)     (10,000)     (10,000)     (10,000)     (10,000)     (10,000)      (10,000)      (10,000)      (10,000)     (10,000)
CC PAYMENTS                                         -            -            -            -        (55,000)         -            -            -            -         (55,000)          -             -            -
BOAA LINE OF CREDIT                                 -            -        (31,172)         -            -            -            -        (31,172)         -              -            -         (31,172)         -
RENT WAREHOUSE                                               (15,000)                                            (15,000)                                                           (15,000)
RENT STADIUM PROPERTIES                                      (19,000)                                            (19,000)                                                           (75,000)
RENT STATE STREET PROPERTIES                                 (16,000)                                            (16,000)                                                           (16,000)
RENT E&J ASSOCIATES- STATE STREET                            (54,867)                                            (54,867)                                                           (54,867)
RENTS - OTHER                                       -                         -            -            -                         -            -            -            -              -             -            -
NET CASH                                        731,160      589,922      567,922      475,143      683,782      527,171      186,644      291,589      316,825      635,218        (68,791)    1,522,849      869,714
CUMULATIVE - CASH                               731,160    1,321,082    1,889,004    2,364,147    3,047,928    3,575,100    3,761,743    4,053,332    4,370,157    5,005,375      4,936,584     6,459,433    7,329,147
INVENTORY                                     8,100,000    7,631,798    7,264,834    6,870,262    6,465,871    6,074,938    5,924,199    5,719,819    5,521,406    5,116,383      5,055,345     4,192,917    3,638,060




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